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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8   _______________________________________
                                            )
 9   UNITED STATES OF AMERICA,              )
                                            )                No. CR06-0041RSL
10                         Plaintiff,       )
                v.                          )
11                                          )                ORDER GRANTING MOTION
     RICHARD ALLEN FABEL,                   )                TO FILE MOTION AND MEMO
12                                          )                UNDER SEAL
                           Defendant.       )
13   _______________________________________)
14          Defendant Richard Fabel’s “Motion to File Motion and Memo Under Seal” (Dkt. #686)
15   having come before the Court for consideration and good cause appearing therefore:
16          IT IS HEREBY ORDERED THAT the filing of defendant’s Ex Parte Motion for
17   Service of Subpoenas and Witness Travel and Subsistence Expenses and Memo in Support
18   thereof (Dkt. #687) be filed under seal.
19
            DATED this 8th day of May, 2007.
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21
22                                              A
                                                Robert S. Lasnik
23                                              United States District Judge
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25
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     ORDER GRANTING MOTION TO FILE
     MOTION AND MEMO UNDER SEAL
